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                                             CIVIL MINUTE ENTRY


BEFORE:                              Magistrate Judge Steven L. Tiscione


DATE:                                September 26, 2019


TIME:                                12:00 P.M.


DOCKET NUMBER(S):                    CV-19-3618 (MKB)


NAME OF CASE(S):                     CHAPLIN V. TOWN OF HEMPSTEAD



FOR PLAINTIFF(S):                    Frank



FOR DEFENDANT(S):                    N/A



NEXT CONFERENCE(S):                  NOVEMBER 26, 2019 AT 2:00 P.M., IN-PERSON



FTR/COURT REPORTER:                  12:11 - 12:23

RULINGS FROM STATUS CONFERENCE:

Plaintiff's counsel represented that he has retired from the practice of law and moved to withdraw as attorney. For the
reasons discussed on the record, Mr. Frank is terminated as counsel of record. Mr. Frank is directed to file a letter on ECF
containing Plaintiff's contact information so that she can be designated pro se. The Court will give Ms. Chaplin additional
time to find a new attorney. A status conference will be held on November 26, 2019 at 2:00 p.m.
